                   Case 1:05-cr-00349-AWI Document 96 Filed 09/18/06 Page 1 of 2


      1   IAN HEUSTON # 235233
          Law Offices of
      2   Thomas J. Richardson & Associates
          2950 Mariposa, Suite 200
      3
          Fresno, California 93721
          Tel: 559-264-6481
      4
          Fax: 559-264-0240
      5   Attorney for Defendant
          Juan Rosas Jr.
      6

      7

      8
                              IN THE UNITED STATES DISTRICT COURT
      9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11
          UNITED STATES OF AMERICA,                ) Case No.: 05-CR-00349-OWW
     12
                                                   )
                         Plaintiff,                ) STIPUALATION AND ORDER TO
                                                   ) CONTINUE STATUS CONFERENCE
     13
                vs.                                )
     14
                                                   )
          JUAN ROSAS,                              )
     15
                                                   ) Dated: September 18, 2006
                         Defendant.                ) Time: 9:00AM
     16
                                                   ) Judge: Oliver W. Wanger
                                                   )
     17
                                                   )

     18
                The parties hereto, by and through their respective attorneys, stipulate and
     19
          agree the status conference/motions currently scheduled for September 18, 2006 be
     20
          continued to September 25, 2006 at 9:00am. in the above-entitled court. Time is
     21
          excluded pursuant to the Speedy Trial Act for further investigation and preparation
     22
          of the case.
     23
          //
     24
          //
     25
          //
     26
          //
     27
          //


                                                   - 1

PDF created with pdfFactory trial version www.pdffactory.com
                  Case 1:05-cr-00349-AWI Document 96 Filed 09/18/06 Page 2 of 2


      1
          DATED: September 18, 2006
      2
                                                 By      /s/ Stanley Boone
      3                                                  STANLEY BOONE
                                                         Assistant U.S. Attorney
      4

      5   Dated: September 18, 2006                      /s/ Ian Heuston
                                                         IAN F. HEUSTON
      6
                                                         Attorney for Defendant
      7

      8
          SO ORDERED:
      9

     10
          DATED:___9/16/06_______                        __/s/ Oliver W. Wanger__
                                                         OLIVER W. WANGER
     11                                                  U.S. DISTRICT COURT JUDGE
     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27




                                                   - 2

PDF created with pdfFactory trial version www.pdffactory.com
